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                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTHONY J. HOWARD                           :                      CIVIL ACTION
             v.                             :
                                            :
ANDREW SAUL,                                :
Commissioner of the Social Security         :
      Administration                        :                       NO. 19-2262

                                        ORDER

       AND NOW, this 18th day of June, 2020, upon consideration of Plaintiff’s Motion for

Attorney’s Fees (Document No. 26), the Commissioner’s Response in opposition thereto

(Document No. 27), Plaintiff’s Reply (Document No. 28), and for the reasons contained in the

Court’s Memorandum of today, it is hereby ORDERED that the Motion is GRANTED. It is

further ORDERED that Plaintiff is awarded attorney’s fees under the Equal Access to Justice Act,

28 U.S.C. § 2412, in the amount of $9,290.60. Subject to any offset under the Treasury Offset

Program, payment of this award shall be made via the Law Offices of Chermol & Fishman, LLC.

If EAJA fees are not subject to any offset and an assignment is provided to the Social Security

Administration, the award shall be paid directly to the order of David F. Chermol, Esquire.




                                             BY THE COURT:



                                             /s/ Carol Sandra Moore Wells
                                             CAROL SANDRA MOORE WELLS
                                             United States Magistrate Judge
